             Case 1:19-cv-00150-DLF Document 80 Filed 11/22/21 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                     )
BROIDY CAPITAL                                       )
MANAGEMENT LLC, et al.,                              )
                                                     )
                 Plaintiffs,                         )
                                                     )        Case No. 1:19CV150 (DLF)
        v.                                           )
                                                     )
NICOLAS D. MUZIN, et al.,                            )
                                                     )
                 Defendants.                         )
                                                     )

                 PLAINTIFFS’ UNOPPOSED MOTION TO EXTEND THE
             DEADLINE FOR SUBMISSION OF THE JOINT RULE 26(f) REPORT

        Plaintiffs Elliott Broidy and Broidy Capital Management LLC, pursuant to Fed. R. Civ. P.

6(b), move for an extension of the deadline for the submission of the joint report required by Fed.

R. Civ. P. 26(f) and LCivR 16.3(d). Defendants do not oppose this motion.

        1.       The parties held a conference pursuant to Fed. R. Civ. P. 26(f) on November 8,

2021. Defendants proposed that they would draft and circulate a simple report for Plaintiffs’

review before it became due on November 22, 2021. Plaintiffs agreed.

        2.       On November 18, 2021, at 5:00 p.m., Defendants circulated a draft report that was

six pages long and contained several significant changes from what the parties had discussed.1

        3.       The following morning, Plaintiffs sought Defendants’ consent to extend the

November 22, 2021 deadline for filing the joint report.

        4.       That afternoon, Defendants replied that they would not oppose such a motion, so

long as the new proposed deadline is set for the week after the Thanksgiving holiday.


1
  Defendants dispute that the draft report contains any significant changes from the parties’ Rule 26(f) conference.
Defendants contend that the draft report proposes some compromises where the parties disagreed, but accurately
reflects the parties’ different positions.
             Case 1:19-cv-00150-DLF Document 80 Filed 11/22/21 Page 2 of 3




        5.       Additionally, Plaintiffs are currently in the process of substituting counsel from

McGuireWoods LLP to Kasowitz Benson Torres LLP, and anticipate filing a notice of substitution

of counsel today. Plaintiffs’ new counsel would like an opportunity to review the draft Rule 26(f)

report and propose any revisions to opposing counsel.

        6.       For good cause shown, Plaintiffs request a short ten-day extension in order to allow

the parties to submit a complete report to the Court.

        Wherefore, for the reasons stated above, Plaintiffs ask the Court to extend the deadline for

the submission of the parties’ joint Rule 26(f) report from November 22, 2021 to December 2,

2021.

Dated: November 22, 2021                       Respectfully submitted,
                                               BROIDY CAPITAL MANAGEMENT LLC and
                                               ELLIOTT BROIDY
                                               By Counsel

                                               s/ George J. Terwilliger III
                                               George J. Terwilliger III
                                               MCGUIREWOODS LLP
                                               888 16th Street NW, Suite 500
                                               Washington, DC 20006
                                               Phone: (202) 857-1700
                                               Fax: (202) 857-1737
                                               gterwilliger@mcguirewoods.com

                                               Brooks H. Spears
                                               MCGUIREWOODS LLP
                                               1750 Tysons Boulevard, Suite 1800
                                               Tysons, VA 22102
                                               Phone: (703) 712-5000
                                               Fax: (703) 712-5282
                                               bspears@mcguirewoods.com




                                                  2
         Case 1:19-cv-00150-DLF Document 80 Filed 11/22/21 Page 3 of 3




                                CERTIFICATE OF SERVICE

       I certify that, on November 22, 2021, I electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system, which will send notice to all counsel of record.

                                             s/ George J. Terwilliger III




                                                3
